   Case 1:10-cr-00144-MHT-TFM Document 83 Filed 11/09/15 Page 1 of 3



  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, SOUTHERN DIVISION


UNITED STATES OF AMERICA                     )
                                             )          CRIMINAL ACTION NO.
        v.                                   )            1:10cr144-MHT
                                             )                 (WO)
BARTOLO RAYMOND HERNANDEZ                    )


                                OPINION AND ORDER

    Amendment 782 to the 2014 edition of the Sentencing

Guidelines          revised           the     guidelines               applicable    to

drug-trafficking offenses.                    Following the United States

Sentencing         Commission’s             decision        to    give    retroactive

effect       to    the     amendment,            this       court      established     a

Retroactivity Screening Panel to determine whether a

defendant          might        be     eligible         for       a     reduction    of

sentence.

    In its recommendation entered October 28, 2015, the

Panel    stated          that    “no    change         is    recommended       because

defendant          did     not       receive       a        guideline      sentence.”

However,          this     court        disagrees.                The     defendant's

previous          sentence       of     86    months          was      based   on    the

then-applicable             guideline            range,          but     reflected    a
      Case 1:10-cr-00144-MHT-TFM Document 83 Filed 11/09/15 Page 2 of 3




downward variance.          Pursuant to U.S.S.G. § 1B1.10(b)(2)

cmt. no. 3 and United States v. Withrow, 508 F. App'x

859, 863 (11th Cir. 2013), this court has the authority

to reduce a sentence that, for reasons other than the

defendant’s       substantial       assistance,       fell    below       the

original guideline range to a sentence within but not

below the amended guideline range.

      Both the government and the defendant agree that a

six-month reduction to 80 months, which falls within

the    amended    guideline      range,    is   appropriate      in   this

case.

      Although the Panel made no recommendation as to

whether any of the public-safety and post-sentencing

conduct factors outlined in U.S.S.G. § 1B1.10 cmt. no.

1     might      warrant      the     court's      consideration           in

determining whether a reduction in the defendant's term

of    imprisonment       is    appropriate,        all    parties     have

concluded and the court accordingly finds that no such



                                     2
      Case 1:10-cr-00144-MHT-TFM Document 83 Filed 11/09/15 Page 3 of 3




issues exist in this case.

                                    * * *

      Upon    consideration         of    the   recommendation      of    the

Retroactivity Screening Panel, and after an independent

and    de    novo   review     of       the   record,   it   is   ORDERED,

pursuant      to    18   U.S.C.     §    3582(c)(2),    that      defendant

Hernandez’s previously imposed sentence of imprisonment

(as reflected in the last judgment issued) of 86 months

is reduced to 80 months.

      DONE, this the 9th day of November, 2015.

                                     _ /s/ Myron H. Thompson
                                    UNITED STATES DISTRICT JUDGE
